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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         No. 1:17-cr-00171-DAD-BAM
12                       Plaintiff,
13           v.
                                                        STIPULATION AND ORDER
14    OSCAR IVAN SALAZAR-AVALOS,
15                       Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by

18   and through their counsel of record, hereby stipulate as follows:

19          1.      This matter was previously set for a status conference before Magistrate Judge

20                  Barbara A. McAuliffe on November 26, 2018, at 1 p.m.

21          2.      The parties have reached and filed a plea agreement. (Doc. 36).

22          3.      The parties agree to set this matter for a change of plea before this Court on

23                  November 26, 2018, at 10 a.m.

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 1   IT IS SO STIPULATED.

 2   DATED:        October 24, 2018.      Respectfully submitted,

 3                                        McGREGOR W. SCOTT
 4                                        United States Attorney

 5                                        /s/ Karen A. Escobar___________________
                                          KAREN A. ESCOBAR
 6                                        Assistant United States Attorney
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 8   DATED:        October 24, 2018.

 9                                        /s/ Daniel Harralson
                                          DANIEL HARRALSON
10                                        Counsel for OSCAR IVAN SALAZAR-AVALOS
11

12                                        ORDER
13          The court has reviewed and considered the stipulation of the parties to vacate the status
14   conference and set a change of plea hearing in this case. Good cause appearing, the status
15   conference as to Oscar Ivan Salazar-Avalos currently set for November 26, 2018, before
16   Magistrate Judge Barbara A. McAuliffe is vacated and a change of plea hearing is set for
17   November 26, 2018, at 10:00am in Courtroom 5 before District Judge Dale A. Drozd.
18   IT IS SO ORDERED.
19
        Dated:     October 24, 2018
20                                                     UNITED STATES DISTRICT JUDGE
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